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                                                                        FILED
                                                              H/.t.S.DISTRiCT CQURT
           IN THE UNITED STATES DISTRICT COURT FOR THE             AUGUSTA DIV.
                    SOUTHERN DISTRICT OF GEORGIA              9
                            DUBLIN DIVISION               2016 JAN 27 AM 10= 00


UNITED STATES OF AMERICA                                          SOrOlST.OFGA.
                                                 CR 314-002
      V.



BRADY JEROME LINTON




                                ORDER




      On January 11, 2016, Defendant filed a motion to reduce

his sentence pursuant to Amendment 782 to the United States

Sentencing Guidelines, which implemented a two-level offense

level reduction to a majority of the offense levels assigned

to the drug quantities set forth in Section 201.1 of the

Guidelines.      U.S.S.G. App. C, amend. 782.     This amendment took

effect     on   November   1,   2014.    Thus,   Defendant,       who    was

sentenced on May 21, 2015, already had the full benefit of the

changes occasioned by Amendment 782.         Accordingly, the motion

to reduce (doc. no. 379) is DENIED.

      ORDER ENTERED at Augusta, Georgia, this                            day

of January, 2016.




                                        UNITED STATES DISTRICT
